Case 4:20-cv-00957-SDJ Document 349-12 Filed 04/09/24 Page 1 of 3 PageID #: 9588




                            EXHIBIT K
Case 4:20-cv-00957-SDJ Document 349-12 Filed 04/09/24 Page 2 of 3 PageID #: 9589




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 UNITED STATES, et al.,                        )
                                               )
                Plaintiffs,                    )
                                               )
        v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                               )
 GOOGLE LLC,                                   )
                                               )
                Defendant.                     )

                                   NOTICE OF DEPOSITION

        PLEASE TAKE NOTICE that pursuant to Rule 30 of the Federal Rules of Civil

 Procedure, Plaintiffs will take the deposition of Neal Mohan, commencing on Friday, August 4,

 2023 at 9:00 a.m., at the U.S. Attorney’s Office for the Eastern District of Virginia, located at

 2100 Jamieson Ave, Alexandria, VA 22314, or as otherwise agreed to by the parties. The

 deposition will be conducted by oral examination before a certified court reporter authorized to

 administer oaths and will continue from day to day until completed. The deposition will be

 recorded by stenographic means and by videotape.



        Dated: July 14, 2023


                                       BY: /s/ Julia Tarver Wood
                                       JULIA TARVER WOOD
                                       United States Department of Justice Antitrust Division
                                       450 Fifth Street NW, Suite 7100
                                       Washington, DC 20530
                                       Telephone: (202) 307-0077
                                       Fax: (202) 616-8544
                                       Email: Julia.Tarver.Wood@usdoj.gov
                                       Counsel for Plaintiff United States of America

                                       JASON S. MIYARES
                                       Attorney General of Virginia
                                                   1
Case 4:20-cv-00957-SDJ Document 349-12 Filed 04/09/24 Page 3 of 3 PageID #: 9590




                               /s/ Andrew N. Ferguson
                               ANDREW N. FERGUSON
                               Solicitor General
                               STEVEN G. POPPS
                               Deputy Attorney General
                               TYLER T. HENRY
                               Assistant Attorney General

                               Office of the Attorney General of Virginia
                               202 North Ninth Street
                               Richmond, VA 23219
                               Telephone: (804) 692-0485
                               Facsimile: (804) 786-0122
                               Email: thenry@oag.state.va.us

                               Attorneys for the Commonwealth of Virginia and
                               local counsel for the States of Arizona, California,
                               Colorado, Connecticut, Illinois, Michigan,
                               Minnesota, Nebraska, New Hampshire, New
                               Jersey, New York, North Carolina, Rhode Island,
                               Tennessee, Washington, and West Virginia




                                         2
